                                   IN THE UNITED STATES DISTRICT COURT
    Case 3:16-cr-00242-M FOR
                          Document 485 Filed
                             THE NORTHERN    12/22/16
                                          DISTRICT      Page 1 of 1
                                                   OF TEXAS                                               PageID 1155
                                                   DALLAS DIVISION

UNITED STATES OF AMERICA                                      )
                                                              )
VS.                                                           )                          CASE NO.: 3:16-CR-242-M (04)
                                                              )
REBECCA GRIMES,                                               )
          Defendant.                                           )

                ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
             UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea of Guilty, the
Consent of the defendant, and the Report and Recommendation Concerning Plea of Guilty of the United States
Magistrate Judge, and no objections thereto having been filed within fourteen days of service in accordance with 28
U.S.C. § 636(b)(1), the undersigned District Judge is of the opinion that the Report and Recommendation of the
Magistrate Judge concerning the Plea of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the
Court accepts the plea of guilty, and REBECCA GRIMES is hereby adjudged guilty of Count 6 of the Indictment,
in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C), that is, Distribution of a Controlled Substance. Sentence
will be imposed in accordance with the Court's scheduling order.

9       The defendant is ordered to remain in custody.

9       The Court adopts the findings of the United States Magistrate Judge by clear and convincing evidence that the
        defendant is not likely to flee or pose a danger to any other person or the community if released and should therefore
        be released under § 3142(b) or (c).

G       Upon motion, this matter shall be set for hearing before the United States Magistrate Judge who set the conditions of
        release for determination, by clear and convincing evidence, of whether the defendant is likely to flee or pose a danger
        to any other person or the community if released under § 3142(b) or (c).

G       The defendant is ordered detained pursuant to 18 U.S.C. § 3143(a)(2). The defendant shall self-surrender to the United
        States Marshal no later than ____________________.

G       The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) because the Court finds
        G       There is a substantial likelihood that a motion for acquittal or new trial will be granted, or
        G       The Government has recommended that no sentence of imprisonment be imposed, and
        G       This matter shall be set for hearing before the United States Magistrate Judge who set the conditions of release
                for determination, by clear and convincing evidence, of whether the defendant is likely to flee or pose a danger
                to any other person or the community if released under § 3142(b) or (c) .

:       The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) because the defendant has filed
        a motion alleging that there are exceptional circumstances under § 3145(c) why he/she should not be detained
        under § 3143(a)(2). This matter shall be set for hearing before the United States Magistrate Judge
        who set the conditions of release for determination of whether it has been clearly shown that there
        are exceptional circumstances under § 3145(c) why the defendant should not be detained under
        § 3143(a)(2), and whether it has been shown by clear and convincing evidence that the defendant
        is likely to flee or pose a danger to any other person or the community if released under § 3142(b)
        or (c).

        SIGNED this 22nd day of December, 2016.

                                                           _________________________________
                                                           BARBARA M. G. LYNN
                                                           CHIEF JUDGE
